             Case 23-40398-NGH                      Doc 24           Filed 09/28/23 Entered 09/28/23 19:13:32                                      Desc Main
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Fill in this information to identify your case:

Debtor 1                   Amber Renee Hobbs
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             DISTRICT OF IDAHO

Case number           23-40398
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Idaho Central CU                         Describe the property that secures the claim:                 $27,548.46               $30,250.00                     $0.00
        Creditor's Name                          2019 Toyota Tacoma 59,500 miles
                                                 SR5 Crew Cab 4WD V6, JP Power
                                                 average trade-in value
                                                 As of the date you file, the claim is: Check all that
        PO Box 2469                              apply.
        Pocatello, ID 83206                          Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   PMSI
      community debt

                                Opened
                                10/21 Last
                                Active
Date debt was incurred          8/17/23                   Last 4 digits of account number        9035



  Add the dollar value of your entries in Column A on this page. Write that number here:                                $27,548.46
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                               $27,548.46

Part 2:       List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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Fill in this information to identify your case:

Debtor 1                     Amber Renee Hobbs
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                DISTRICT OF IDAHO

Case number           23-40398
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Idaho Tax Commission                                Last 4 digits of account number         3115               $2,434.00          $2,434.00                   $0.00
             Priority Creditor's Name
             PO Box 36                                           When was the debt incurred?             2021
             Boise, ID 83722
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 13
                                                                                                              46019
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Debtor 1 Amber Renee Hobbs                                                                        Case number (if known)        23-40398

2.2      Internal Revenue Service                           Last 4 digits of account number     3115                $9,455.00       $9,455.00          $0.00
         Priority Creditor's Name
         Centralized Insolvency Operation                   When was the debt incurred?         2021
         PO Box 7346
         Philadelphia, PA 19104
         Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                        Contingent
          Debtor 1 only                                        Unliquidated
          Debtor 2 only                                        Disputed
          Debtor 1 and Debtor 2 only                        Type of PRIORITY unsecured claim:

          At least one of the debtors and another              Domestic support obligations

          Check if this claim is for a community debt          Taxes and certain other debts you owe the government
      Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
          No                                                   Other. Specify
          Yes                                                                   Taxes

2.3      Internal Revenue Service                           Last 4 digits of account number     3115                $8,714.00       $8,714.00          $0.00
         Priority Creditor's Name
         Centralized Insolvency Operation                   When was the debt incurred?         2020
         PO Box 7346
         Philadelphia, PA 19104
         Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                        Contingent
          Debtor 1 only                                        Unliquidated
          Debtor 2 only                                        Disputed
          Debtor 1 and Debtor 2 only                        Type of PRIORITY unsecured claim:

          At least one of the debtors and another              Domestic support obligations

          Check if this claim is for a community debt          Taxes and certain other debts you owe the government
      Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
          No                                                   Other. Specify
          Yes                                                                   Taxes

2.4      Utah State Tax Commission                          Last 4 digits of account number     3115                  $852.00         $852.00          $0.00
         Priority Creditor's Name
         210 N 1950 W                                       When was the debt incurred?         2021
         Salt Lake City, UT 84134
         Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                        Contingent
          Debtor 1 only                                        Unliquidated
          Debtor 2 only                                        Disputed
          Debtor 1 and Debtor 2 only                        Type of PRIORITY unsecured claim:

          At least one of the debtors and another              Domestic support obligations

          Check if this claim is for a community debt          Taxes and certain other debts you owe the government
      Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
          No                                                   Other. Specify
          Yes                                                                   Taxes




Official Form 106 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 13
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Debtor 1 Amber Renee Hobbs                                                                                Case number (if known)            23-40398

2.5        Utah State Tax Commission                              Last 4 digits of account number       3115                $2,438.00              $2,438.00                    $0.00
           Priority Creditor's Name
           210 N 1950 W                                           When was the debt incurred?           2020
           Salt Lake City, UT 84134
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          Taxes


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        American Express                                          Last 4 digits of account number         8653                                                              $0.00
           Nonpriority Creditor's Name
                                                                                                             Opened 05/18 Last Active
           PO Box 981540                                             When was the debt incurred?             03/20
           El Paso, TX 79998
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 3 of 13
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Debtor 1 Amber Renee Hobbs                                                                       Case number (if known)         23-40398

4.2      Bank of America                                     Last 4 digits of account number       8748                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 05/06 Last Active
         PO Box 31785                                        When was the debt incurred?           3/06/15
         Tampa, FL 33631
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.3      Capital One                                         Last 4 digits of account number       0220                                               $9,915.46
         Nonpriority Creditor's Name
                                                                                                   Opened 11/17 Last Active
         PO Box 30285                                        When was the debt incurred?           8/15/23
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.4      Chase                                               Last 4 digits of account number       2253                                               $8,129.94
         Nonpriority Creditor's Name
                                                                                                   Opened 08/21 Last Active
         PO Box 15298                                        When was the debt incurred?           8/15/23
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 13
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Debtor 1 Amber Renee Hobbs                                                                       Case number (if known)         23-40398

4.5      Chase Auto                                          Last 4 digits of account number       4700                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 04/19 Last Active
         PO Box 29505                                        When was the debt incurred?           11/21
         Phoenix, AZ 85038
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan


4.6      Chase Mortgage                                      Last 4 digits of account number       5129                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 04/06 Last Active
         PO Box 24696                                        When was the debt incurred?           9/11/15
         Columbus, OH 43224
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan


4.7      Citibank                                            Last 4 digits of account number       5717                                               $7,862.00
         Nonpriority Creditor's Name
                                                                                                   Opened 05/17 Last Active
         PO Box 6497                                         When was the debt incurred?           10/19
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 13
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Debtor 1 Amber Renee Hobbs                                                                       Case number (if known)         23-40398

4.8      Comenity Bank                                       Last 4 digits of account number       6804                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 12/04/19 Last Active
         PO Box 182789                                       When was the debt incurred?           10/15/20
         Columbus, OH 43213
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.9      Contract Callers Inc                                Last 4 digits of account number       7589                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 5/22/20 Last Active
         501 Greene St Ste 302                               When was the debt incurred?           8/12/20
         Augusta, GA 30901
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Collections
             Yes                                                Other. Specify   Comcast

4.1
0        Credit One Bank                                     Last 4 digits of account number       2326                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 01/21 Last Active
         PO Box 98872                                        When was the debt incurred?           7/23/21
         Las Vegas, NV 98872
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 13
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4.1
1        H&H Design LLC                                      Last 4 digits of account number       NA                                                       $0.00
         Nonpriority Creditor's Name
         860 Fox Acres Rd                                    When was the debt incurred?           NA
         Hailey, ID 83333
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
2        IC Systems                                          Last 4 digits of account number       NA                                                $46,018.16
         Nonpriority Creditor's Name
         PO Box 64378                                        When was the debt incurred?           2021
         St. Paul, MN 55164
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Collections
             Yes                                                Other. Specify   Intermountain Healthcare

4.1
3        John Shirley                                        Last 4 digits of account number       NA                                                $37,276.00
         Nonpriority Creditor's Name
         6425 S Heughs Canyon Dr                             When was the debt incurred?           8/25/2021
         Salt Lake City, UT 84121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Amount still owed for sale of Utah home.




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 13
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4.1
4        Loancare Servicing Center                           Last 4 digits of account number       4873                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 01/16 Last Active
         PO Box 8068                                         When was the debt incurred?           8/26/21
         Virginia Beach, VA 23450
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan


4.1
5        Mark & Kristin Nelson                               Last 4 digits of account number       3400                                             $133,465.55
         Nonpriority Creditor's Name
         7801 South Mystic Meadows Ln                        When was the debt incurred?           4/4/2022
         Sandy, UT 84093
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Judgment


4.1
6        Mountain America CU                                 Last 4 digits of account number       0809                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 09/06 Last Active
         PO Box 9001                                         When was the debt incurred?           10/01/15
         West Jordan, UT 84084
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 13
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4.1
7        Nordstrom FSB                                       Last 4 digits of account number       0450                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 07/07 Last Active
         PO Box 6555                                         When was the debt incurred?           8/18/23
         Englewood, CO 80155
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
8        Ocwen Loan Servicing, LLC                           Last 4 digits of account number       6779                                                     $0.00
         Nonpriority Creditor's Name
                                                                                                   Opened 04/06 Last Active
         1661 Worthington Rd. Ste 100                        When was the debt incurred?           8/14/13
         West Palm Beach, FL 33409
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan


4.1      Strong & Hanni, Kandace
9        Richardson                                          Last 4 digits of account number       6850                                               $8,074.00
         Nonpriority Creditor's Name
         102 S 200 E, Ste 800                                When was the debt incurred?           2021
         Salt Lake City, UT 84111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Business Debt, no Personal Liability, listed
             Yes                                                Other. Specify   for Notice.




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Debtor 1 Amber Renee Hobbs                                                                         Case number (if known)         23-40398

4.2
0         Synchrony Bank                                       Last 4 digits of account number       7617                                                       $0.00
          Nonpriority Creditor's Name
                                                                                                     Opened 04/06 Last Active
          PO Box 971782                                        When was the debt incurred?           01/08
          Philadelphia, PA 19176
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Charge Account


4.2
1         Uplift, Inc.                                         Last 4 digits of account number       5255                                                       $0.00
          Nonpriority Creditor's Name
                                                                                                     Opened 12/22 Last Active
          440 N Wolfe Rd                                       When was the debt incurred?           03/23
          Sunnyvale, CA 94085
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Charge Account


4.2
2         Yellow Dogs                                          Last 4 digits of account number       NA                                                         $0.00
          Nonpriority Creditor's Name
          860 Fox Acres Rd                                     When was the debt incurred?           NA
          Hailey, ID 83333
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Charge Account

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you



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Debtor 1 Amber Renee Hobbs                                                                         Case number (if known)         23-40398
  have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
  notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Amazon                                                  Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 960013                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
CareCredit                                              Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 960061                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
ChexSystems                                             Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
7805 Hudson Road, Ste 100                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Woodbury, MN 55125
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank NA                                             Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 78019                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Phoenix, AZ 85062
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Comcast                                                 Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
752 N Marshall Way                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Layton, UT 84041
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Equifax                                                 Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 740256                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 30374
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Experian                                                Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 4500                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Allen, TX 75013
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Fabian Vancott                                          Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
215 South State Street, Ste 1200                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84111
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Home Depot                                              Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 20363                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Kansas City, MO 64195
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Home Depot Card Services                                Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 78011                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Phoenix, AZ 85062
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
IC Systems                                              Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 64437                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Saint Paul, MN 55164
                                                        Last 4 digits of account number

Name and Address                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Intermountain Healthcare                                Line 4.12 of (Check one):

Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 11 of 13
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PO Box 30191                                                                                             Part 1: Creditors with Priority Unsecured Claims
Salt Lake City, UT 84127                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Intermountain Healthcare                                     Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 35145                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Seattle, WA 98124
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Intermountain Healthcare                                     Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 30193                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84130
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 960013                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 71715                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19176
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 965064                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 965033                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank                                               Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 530927                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 30353
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
TransUnion Consumer Relations                                Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 2000                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Chester, PA 19022
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                    23,893.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                    23,893.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 12 of 13
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                                                                                                                                    0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             250,741.11

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             250,741.11




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Fill in this information to identify your case:

Debtor 1                  Amber Renee Hobbs
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               DISTRICT OF IDAHO

Case number           23-40398
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Amber Renee Hobbs
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 DISTRICT OF IDAHO

Case number           23-40398
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         H&H Design LLC                                                                        Schedule D, line
               860 Fox Acres Rd                                                                      Schedule E/F, line  4.15
               Hailey, ID 83333
                                                                                                     Schedule G
                                                                                                   Mark & Kristin Nelson



   3.2         H&H Design LLC                                                                         Schedule D, line
               860 Fox Acres Rd                                                                       Schedule E/F, line 4.19
               Hailey, ID 83333
                                                                                                      Schedule G
                                                                                                   Strong & Hanni, Kandace Richardson



   3.3         Yellow Dogs                                                                           Schedule D, line
               860 Fox Acres Rd                                                                      Schedule E/F, line  4.15
               Hailey, ID 83333
                                                                                                     Schedule G
                                                                                                   Mark & Kristin Nelson




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
